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10
11                         UNITED STATES DISTRICT COURT

12                       SOUTHERN DISTRICT OF CALIFORNIA

13
14    STRATEGIC OPERATIONS, INC.,              CASE NO. 3:17-CV-1539-JLS-
                                               WVG
15                   Plaintiff,
                                               REPLY MEMORANDUM OF
16          vs.                                POINTS AND AUTHORITIES
                                               BY DEFENDANTS BREA
17    BREA K. JOSEPH; KASEY                    JOSEPH AND KASEY
      EROKHIN; KBZ FX, INC.; and DOES          EROKHIN IN SUPPORT OF
18    1 through 10, inclusive,                 THEIR MOTION TO DISMISS
                                               THE SECOND AMENDED
19                   Defendants.               COMPLAINT

20                                             NO HEARING REQUESTED
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22                                             Judge:   Hon. Janis L. Sammartino

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 1          Defendants Brea Joseph and Kasey Erokhin (“the Individual Defendants”)
 2    respectfully submit the following reply memorandum of points and authorities in
 3    support of their motion to dismiss the second amended complaint (“SAC”).
 4    I.    ARGUMENT IN REPLY
 5          Plaintiff Strategic Operations (“StOps”) does not defend the SAC’s failure to
 6    sufficiently plead alter ego liability, relying instead on alleged conduct prior to
 7    incorporation. ECF No. 54. The allegations of the Individual Defendants’ conduct
 8    prior to incorporation, however, do not satisfy the pleading requirements for patent
 9    infringement under Iqbal and Twombly. Ashcroft v. Iqbal, 556 U.S. 662, 677
10    (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007). The SAC’s
11    allegations against “KBZ FX” are likewise not attributable to the Individual
12    Defendants; those allegations are attributable to KBZ FX, Inc., at best. Moreover,
13    the allegations against “KBZ FX” are moot because KBZ FX should be dismissed
14    under Federal Rule of Civil Procedure 4(m). ECF No. 24 at 12 (Order Granting
15    Motion to Dismiss alter ego allegations against the Individual Defendants).
16          A. The Cited Allegations in the Second Amended Complaint Regarding
17             the Individual Defendants Are Inadequate Under Iqbal Because They
               Are Mere Conclusory Listings of Patent Claim Elements.
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            Specifically, in its Opposition, StOps now speculates that “in order to make
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      use of Defendants’ infringing product in June 2017 – the month following KBZ FX,
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      Inc.’s incorporation – the infringing acts of ‘making’ the product must have begun
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      before KBZ FX, Inc. existed.” ECF No. 54 at 4. This allegation is not made in the
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      SAC, however. The sections of the SAC cited by StOps allege, instead:
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            • “Joseph and Erokhin recently developed a human-worn trauma training
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               product…” SAC at ¶24. The only allegation of when this development
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               occurred is “recently” – suggesting that it occurred after the 2017
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               incorporation of KBZ FX, Inc. And contrary to StOps’ characterization in
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               its Opposition, the SAC only alleges that Exhibits 7-9 show “raiments for
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 1            use in the accused products” (SAC ¶¶29-30, Exhibits 7-8) and “some of
 2            the components incorporated into the completed raiments for use in the
 3            accused products” (SAC ¶31, Exhibit 9). The SAC provides no other
 4            allegations with respect to the numerous other necessary elements of the
 5            asserted claims, other than naked listings of claim elements. SAC at ¶38
 6            (‘403 Patent), ¶50 (‘693 Patent), ¶52 (‘774 Patent). Such a naked listing of
 7            claim elements, however, is legally inadequate under Iqbal. 556 U.S. at
 8            677 (complaint will not suffice “if it tenders ‘naked assertion[s]’ devoid
 9            of further factual enhancement”) (citing Twombly, 550 U.S. at 557).
10         • “Joseph and Erokhin have and continue to induce infringement of the
11            ‘403 Patent by actively and knowingly inducing others to make, use, sell,
12            and/or offer for sale the TTK.” SAC at ¶45. This is another legally
13            inadequate naked conclusion of law. Paragraph 45 goes on to allege
14            “Joseph and Erokhin developed the TTK knowing and specifically
15            intending the TTK to copy StOps Cut Suit.” Id. But absent a case-within-
16            a-case showing that StOps’ Cut Suit practices the ‘403 Patent, this
17            allegation of “copying” is irrelevant to patent infringement. See Bonito
18            Boats v. Thunder Craft Boats, Inc., 489 U.S. 141, 151 (1989) (“[F]ree
19            exploitation of ideas will be the rule, to which the protection of a federal
20            patent is the exception.”).
21         • “Joseph and Erokhin have and continue to contributorily infringe the ‘403
22            Patent [because] the TTK was especially made by Joseph and Erokhin to
23            look and function the same as StOps’ Cut Suit… despite knowing that
24            those components and features are covered by the inventions claimed in
25            the ‘403 Patent.” SAC at ¶46.1 Again, this is a legally inadequate naked
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      In its Opposition, StOps misleadingly substitutes “[asserted patents]” for “’403
     Patent” when quoting the complaint. Compare ECF No. 54 at 5 with SAC at ¶45.
28   The cited allegations only relate to the ‘403 Patent. The only allegations with
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 1            conclusion of law followed by an allegation of “copying,” which is
 2            irrelevant without some showing (beyond a mere conclusory assertion)
 3            that StOps’ Cut Suit practices the ‘403 Patent.
 4         Thus, this case mirrors Footbalance System Inc. v. Zero Gravity Inside, Inc.,
 5   Case No. 3:15-cv-01058-JLS-RNB (S.D. Cal. Oct. 4, 2016). Here, the only alleged
 6   sales/rentals of the accused TTK occurred after the incorporation of KBZ FX, Inc.,
 7   and only in StOps’ brief opposing the Motion to Dismiss does StOps now speculate
 8   that some “making” might have occurred prior to incorporation. Moreover, even
 9   assuming, arguendo, that such a “making” occurred, the SAC does not allege that
10   any damage to StOps flowed from it. See SAC at ¶33 (alleging only damage due to
11   KBZ FX renting and/or leasing the TTK to agencies for military training).
12
           B. “KBZ FX” Only Refers to KBZ FX, Inc.
13         StOps further argues that, in the context of the SAC, allegations of
14   infringement against “‘KBZ FX’ generally” should be construed as allegations
15   against the Individual Defendants. ECF No. 54 at 5 (“allegations of infringement
16   attributed to ‘KBZ FX’ generally… includes Joseph’s and Erokhin’s actions prior
17   to any incorporation of KBZ FX, Inc.”). This is a strained post hoc reinterpretation
18   of the SAC, first and foremost because KBZ FX is a specifically named Defendant,
19   apart from the other Defendants in the complaint. The cause of action for patent
20   infringement distinguishes between KBZ FX and the Individual Defendants by
21   directing different allegations to different parties, specifically. E.g., ECF No. 26
22   (SAC) at ¶¶39-41 (allegations regarding “KBZ FX”), ¶42-43 (allegations regarding
23   “Defendants”), ¶44 (allegation regarding “Joseph, Erokhin, and KBZ FX”), ¶46-47
24   (allegations regarding “Joseph and Erokhin”). Plaintiff’s choice to draft the
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26   respect to the other asserted patents are at paragraphs 50-52, and they are mere
27   listings of claim elements, with no factual analysis whatsoever. SAC at ¶¶50-52.
     Accordingly, all claims with respect to the ‘693 and ‘774 Patents should be
28   dismissed.
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 1   complaint in this way should not be ignored, especially since this is the Plaintiff’s
 2   third attempt to draft a legally cognizable claim against the Individual Defendants.
 3   See ECF No. 15 (Order granting Motion to Dismiss); ECF No. 24 (Order granting
 4   Motion to Dismiss).
 5         If, however, the Court is inclined to reinterpret the Plaintiff’s allegations
 6   against “KBZ FX” as somehow including other Defendants, then a more reasonable
 7   interpretation is that the cause of action for patent infringement loosely conflates
 8   KBZ FX with KBZ FX, Inc., not with the Individual Defendants. Notably, no
 9   allegations in the cause of action for patent infringement are directed specifically to
10   KBZ FX, Inc. SAC at ¶¶36-55.2 The only time KBZ FX, Inc. is specifically
11   referenced in an allegation in the cause of action is in paragraph 45, which alleges,
12   in relevant part: “[Joseph and Erokhin] are the persons in control and authority of
13   KBZ FX and KBZ FX, Inc. and have actively aided and abetted KBZ FX and KBZ
14   FX, Inc. to infringe the ‘403 Patent.” Id. at ¶45. This is an attempt to plead alter ego
15   liability against the Individual Defendants, and the reference therein to “KBZ FX,
16   Inc.” is merely conclusory. With respect to KBZ FX, Inc. the SAC makes no further
17   allegations to satisfy StOps’ burden under Iqbal/Twombly. Iqbal, 556 U.S. at 677;
18   Twombly, 550 U.S. at 555; see also Fed. R. Civ. P. 12(b)(6).3 The fact that StOps
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       Paragraph 42 refers to “Defendants” collectively, but only in the context of
20   unsupported legal conclusions with respect to “derivative products.” As this Court
21   previously noted, however, “[a] complaint will not suffice ‘if it tenders naked
     assertion[s]’ devoid of ‘further factual enhancement.’” ECF No. 24 (Order on
22   Motion to Dismiss) (quoting Iqbal, 556 U.S. at 677). Paragraph 43 also refers to
23   “Defendants” collectively, but only in the context of pre-suit knowledge of the ‘403
     Patent, which is moot with respect to any particular Defendant in the absence of a
24   cognizable claim against that Defendant.
25   3
       The only other reference to the conduct of KBZ FX, Inc. is in the Background
26   section of the SAC, paragraph 35, which alleges “Joseph, Erokhin, and KBZ FX
27   Inc. nevertheless continue to make, use, sell, and/or offer for sale, the TTK,
     violating StOps’ patent rights” – a legally insufficient naked claim without any
28   further factual allegations regarding patent infringement by KBZ FX, Inc. To the
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 1   fails to allege patent infringement against KBZ FX, Inc. is puzzling in the context
 2   of this case and circumstantially suggests that StOps meant to equate the alleged
 3   conduct of “KBZ FX” with the conduct of KBZ FX, Inc.
 4         Specifically, the SAC alleges that “KBZ FX… continues to directly infringe
 5   the ‘403 Patent.” SAC at ¶39 (emphasis added). But StOps admits that KBZ FX
 6   incorporated as KBZ FX, Inc. in May of 2017. ECF No. 54 at 2. This further
 7   suggests that StOps’ patent infringement allegations loosely conflate KBZ FX with
 8   KBZ FX, Inc. Thus, even assuming arguendo that “KBZ FX” refers to another
 9   Defendant, then the most reasonable interpretation would be that it refers to the
10   Defendant named “KBZ FX, Inc.” Absent a showing of alter ego liability sufficient
11   to pierce the corporate veil, the Individual Defendants are not personally liable for
12   the conduct of KBZ FX, Inc., and, as noted above, StOps does not defend the
13   SAC’s failure to adequately plead alter ego liability. See ECF No. 28 (addressing
14   StOps’ failure to adequately plead alter ego liability).
          C. KBZ FX Should Be Dismissed Under Federal Rule of Civil Procedure
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              4(m).
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           To the extent that StOps’ cause of action is directed to the conduct of KBZ
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     FX – as opposed to KBZ FX, Inc. or the Individual Defendants – that claim should
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     be dismissed under Federal Rule of Civil Procedure 4(m) for failure to timely file
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     proof of service against KBZ FX. This Court previously ordered: “StOps SHALL
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     FILE proof of service against Ms. Erokhin and KBZ FX on or before twenty-one
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     (21) days of the electronic docketing of this Order. Failure to do so may result in
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     dismissal without prejudice of StOps’ causes of action against Ms. Erokhin and
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     KBZ FX pursuant to Federal Rule of Civil Procedure 4(m).” ECF No. 24 at 12
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     (dated May 7, 2019) (emphasis in original). StOps has not filed proof of service
25
26   extent that StOps has failed to state a claim for patent infringement against KBZ
27   FX, Inc., then StOps has likewise failed to state a claim for alter ego liability
     against the Individual Defendants, because stating a claim for alter ego liability is
28   contingent on pleading an underlying claim.
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 1   against KBZ FX, despite having ample time to do so. Accordingly, the cause of
 2   action for patent infringement against KBZ FX should be dismissed.
 3   II.   CONCLUSION
 4         For the foregoing reasons, the Court should dismiss the amended complaint
 5   and all claims in their entirety with prejudice for failure to state a claim under Fed.
 6   R. Civ. P. 12(b)(6). Because StOps has already been given an opportunity to
 7   amend twice, leave to amend a third time should be denied. Ascon Props., Inc. v.
 8   Mobil Oil Co., 866 F.2d 1149, 1160 (9th Cir. 1989) (“discretion to deny leave to
 9   amend is particularly broad where plaintiff has had prior opportunities to amend.”).
10
                                           Respectfully submitted,
11
                                           INSIGNE LLP
12
13     Dated: September 26, 2019           By: /s/ Charles A. Blazer, II
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                              CERTIFICATE OF SERVICE
 1
 2
           I hereby certify that on September 26, 2019, I caused a copy of the foregoing
 3
          REPLY MEMORANDUM OF POINTS AND AUTHORITIES BY
 4    DEFENDANTS BREA JOSEPH AND KASEY EROKHIN IN SUPPORT OF
 5    THEIR MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
     and any attachments thereto to be served via electronic mail to counsel for all
 6
     parties and their counsel of record, who are deemed to have consented to electronic
 7
     service using the Court’s CM/ECF system.
 8
           I declare under penalty of perjury under the laws of the United States of
 9
     America that the foregoing is true and correct.
10
                                          Respectfully submitted,
11                                        INSIGNE LLP
12
       Dated: September 26, 2019          By: /s/ Charles A. Blazer, II
13                                            Trevor Q. Coddington, Ph.D.
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